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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA                            CASE NO. 1:21:CR:392-RCL


                                                       ORDER TO MODIFY BAIL TERMS
                                                                 AND CONDITIONS
V.



RUSSELL TAYLOR
DEFENDANT




                   ORDER TO MODIFY BAIL TERMS AND CONDITIONS

The Pretrial Release terms for Mr. Taylor are hereby ORDERED to be modified as follows:

     1. Mr. Taylor may leave the Central District ofCalifornia to travel to the Southern District
        ofCalifornia, without permission ofthe Court.

     2. With the prior approvaJ of his Pre Trial-Services Officer, Mr. Taylor.may leave the
        Central District of California to travel to the State ofUtah, with incidental travel
        permitted through the State ofNevada and State ofArizona. Court approval for travel to
        these Districts shall no longer require Court approval.

     3. Mr. Taylor shall report any Pre Trial-Services approved travel to the United States
        Attorney's Office (by email to the Governments counsel ofrecord), through his counsel
        ofrecord, a minimum of48 hours prior to his leaving the Central District ofCalifornia.

     4. Travel to any other State or District shall continue to require specific Court Approval.

     5. Mr. Taylor shall continue to be allowed to travel to Washington D.C. for legal purposes
        or Court appearances pursuant to the current terms and conditions.
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  6. The previously imposed curfew is removed as a term and condition of release.

IT IS SO ORDERED,



  � 3e            , 2022
                                                ROYCE C. LAMBERTH
